                           IN THE
 UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND


ALFRED CHESTNUT,                            *
                     Plaintiff,
                                            *
              v.
                                            *
                                                   No. 20-cv-02342 RDB
BALTIMORE POLICE                            *
DEPARTMENT, ET AL.
                                            *
                     Defendants.

    *   *     *   *    *    *   *   *    *   *    *    *
 RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION FOR IN CAMERA
                 REVIEW OF RECORDS REDACTED
           BY STATE’S ATTORNEY FOR BALTIMORE CITY

       The State’s Attorney for Baltimore City, by her undersigned counsel, files this

Response in Opposition to the Defendants’ Motion for In Camera Review of Records

Redacted by State’s Attorney for Baltimore City.

                          BACKGROUND/DISPUTED ISSUE

       In response to the subpoena directed to her, the State’s Attorney produced a 102

page document with redactions for opinion attorney work product. The document is a

memorandum by Lauren Lipscomb, then Chief of the Conviction Integrity Unit, to the

State’s Attorney which contains her review of the case file, independent investigation, her

analysis and recommendations. The unredacted portion of the document disclosed the

materials Ms. Lipscomb reviewed and the independent investigation she did. The

redacted portions contain opinions by Ms. Lipscomb analyzing the materials. The

general recommendation in support of the writ of innocence is provided.
                                      DISCUSSION

       Defendants contend that the State’s Attorney waived any claim of opinion work

product privilege when she publicly released a 48 page report that appears to be an

excerpt of the 102 page memorandum. To state the obvious, she deliberately did not

disclose a significant portion of the 102 page memorandum. A cursory initial review of

the documents reflects the intent of the documents. The shorter document was designed

for public disclosure. The longer document was clearly intended to contain materials

which the State’s Attorney deemed privileged and did not disclose publicly. As the

updated privilege log indicates, the redacted portions were only opinion work product

(Exhibit 4 to Defendants’ Motion for In Camera Review).

       Pursuant to the work product doctrine, “an attorney is not required to divulge, by

discovery or otherwise, facts developed by his efforts in preparation of the case or opinions

he has formed about any phase of the litigation.” Chaudhry v. Gallerizzo, 174 F.3d 394,

403 (4th Cir. 1999) (quoting In re Doe, 662 F.2d 1073, 1077 (4th Cir. 1981)); see Fed. R.

Civ. P. 26(b)(3). While fact work product may be ordered to be produced upon showing

of substantial need, opinion work product can only be disclosed in “rare and extraordinary

circumstances”. In re Search Warrant Issued June 13, 2019, 942 F.3d 159, 174 (4th Cir.

2019) (quoting In re Grand Jury Subpoena, 870 F. 3d 312, 316 (2017)). In this case, the

State’s Attorney has produced fact work product, but has declined to produce opinion work

product. Further, Defendants have failed to demonstrate why this civil case is a “rare and

extraordinary” circumstance necessitating opinion work product.




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      Assuming arguendo that any privilege was waived by disclosure of the shorter

document, it was waived only to the extent of the content of the disclosed material. When

the disclosure of opinion work product results in waiver, “the waiver is ‘limited’ and

pertains to only the information actually disclosed.” Owens v. Mayor & City Council of

Baltimore, No. 3295-GLR, 2015 WL 6082131, at *2 (quoting In re Martin Marietta Corp.,

856 F.2d 619, 623 (4th Cir. 1988)).


                                       CONCLUSION


      WHEREFORE, the State’s Attorney for Baltimore City respectfully requests that

this Honorable Court deny the Motion for In Camera review.

                                               Respectfully submitted,

                                               BRIAN E. FROSH
                                               Attorney General of Maryland

                                               /s/ Wendy L. Shiff
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October 26, 2021                               Attorneys for     State’s   Attorney for
                                               Baltimore City




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                          CERTIFICATE OF SERVICE

      I certify that, on this 26th day of October, 2021 the foregoing was served by

CM/ECF on all registered CMF users.

                                            /s/ Wendy L. Shiff
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                                            Wendy L. Shiff




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